Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 1 of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

CHRISTOPHER MCGINNIS,

INDIVIDUALLY, AND BY NEXT

FRIEND, BUFFY MCGINNIS
Plaintiffs,

v. CIVIL ACTION NO. 3:07-CV-00032

UNION PACIFIC RAILROAD

COMPANY,

Defendant and Third-Party
Plaintiff,

METROPOLITAN TRANSIT
AUTHORITY OF HARRIS COUNTY,
TEXAS,

Intervenor,

V.

LIBERTY MUTUAL FIRE
INSURANCE COMPANY AND
THOSE CERTAIN INDIVIDUAL
UNDERWRITERS OF LLOYD’S,
LONDON, FORMING SYNDICATE
1861 AND SYNDICATE 2003
SUBSCRIBING TO POLICY NUMBER
576/UF7273700 FOR THE 2003
LLOYD’S YEAR OF ACCOUNT,
Third-Party Defendants.

¢m€m@w'>@€m¢o°@MWMW>MM¢M@@@@@M@@@@@W>WDM

MEMORANDUM AND ORDER
Before the Court are two motions. The first motion is the Motion for Leave to
Designate Responsible Third Party (Doc. No. 50) of Lloyd’s, London (“Lloyd’s”),
seeking to designate Willis of Texas, Inc., as a “responsible third party” under Texas

Civil Practice and Remedies Code § 33.004.

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 2 of 9

The second motion is the Motion to Dismiss (Doc. No. 31) of Third-Party
Defendants Liberty Mutual Fire Insurance Company (“Liberty Mutual”) and Lloyd’s
(collectively referred to as “Defendants”). In a prior Memorandum and Order (Doc. No.
48), which summarizes the factual and procedural background of the case, the Court
denied the Motion to Dismiss in part, and invited supplemental briefs on the one
remaining question: whether the case must be dismissed under Federal Rules of Civil
Procedure 19. All parties subsequently filed supplemental briefs.

After reviewing the Motions, all related filings, and the relevant law, the Court
finds that the Motion for Leave should be granted, and that the Motion to Dismiss should

be denied.

I. MOTION FOR LEAVE TO DESIGNATE RESPONSIBLE THIRD PARTY
Lloyd’s has filed a Motion for Leave to Designate Responsible Third Party (Doc.

No. 50), seeking to designate Willis of Texas, Inc. (“Willis”) as a “responsible third

party” under Texas Civil Practice and Remedies Code § 33.004, as amended in 2003,

which states in relevant part:
§ 33.004. Designation of Responsible Third Party

(a) A defendant may seek to designate a person as a
responsible third party by filing a motion for leave to
designate that person as a responsible third party. The
motion must be filed on or before the 60th day before the
trial date unless the court finds good cause to allow the
motion to be filed at a later date.

(b) Nothing in this section affects the third-party practice as
previously recognized in the rules and statutes of this state
with regard to the assertion by a defendant of rights to
contribution or indemnity. Nothing in this section affects
the filing of cross-claims or counterclaims

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 3 of 9

(e) If a person is designated under this section as a
responsible third party, a claimant is not barred by
limitations from seeking to join that person, even though
such joinder would otherwise be barred by limitations, if
the claimant seeks to join that person not later than 60 days
after that person is designated as a responsible third party.

(f) A court shall grant leave to designate the named person
as a responsible third party unless another party files an
objection to the motion for leave on or before the 15th day
after the date the motion is served.

(g) If an objection to the motion for leave is timely filed,
the court shall grant leave to designate the person as a
responsible third party unless the objecting party
establishes:

(1) the defendant did not plead sufficient facts
concerning the alleged responsibility of the person to
satisfy the pleading requirement of the Texas Rules of
Civil Procedure; and

(2) after having been granted leave to replead, the
defendant failed to plead sufficient facts concerning the
alleged responsibility of the person to satisfy the
pleading requirements of the Texas Rules of Civil
Procedure.

(h) By granting a motion for leave to designate a person as
a responsible third party, the person named in the motion is
designated as a responsible third party for purposes of this
chapter without further action by the court or any party.

(i) The filing or granting of a motion for leave to designate
a person as a responsible third party or a finding of fault
against the person;

(l) does not by itself impose liability on the person; and

(2) may not be used in any other proceeding, on the
basis of res judicata, collateral estoppel, or any other
legal theory, to impose liability on the person.

Texas Civil Practice and Remedies Code § 33.011(6) defines the term “responsible third

party” as follows:

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 4 of 9

(6) “Responsible third party” means any person who is

alleged to have caused or contributed to causing in any way

the harm for which recovery of damages is sought, whether

by negligent act or omission, by any defective or

unreasonably dangerous product, by other conduct or

activity that violates an applicable legal standard, or by any

combination of these. The term “responsible third party”

does not include a seller eligible for indemnity under

Section 82.002.
Several district courts in Texas have concluded that the designation of a “responsible
third party” under § 33.004 does not conflict with the Federal Rules of Civil Procedure.
See, e.g., Cortez v. F rank ’s Casi`ng Crew & Rental Tools, Civ. Action No. V-05-125 2007
WL 419371, at *1-2 (S.D. Tex. Feb. 2, 2007) (collecting cases); see also Becker v.
Wabash, Civ. Action No. C-07-115, 2007 WL 2220961, at *1-2 (S.D. Tex. July 31,
2007). T he Court finds the reasoning in these cases persuasive. Moreover, Lloyd’s has
met the statutory requirements for designating a “responsible third party,” and no party

has objected to Lloyd’s Motion. For these reasons, Lloyd’s Motion for Leave to

Designate Responsible Third Party (Doc. No. 50) should be granted.

II. MOTION TO DISMISS

The only remaining issue in the Motion to Dismiss (Doc. No. 31) of Third-Party
Defendants Liberty Mutual and Lloyd’s is whether the case must be dismissed under
Federal Rules of Civil Procedure l9. Defendants argue that two parties are both
“necessary” and “indispensable” within the meaning of that rule: Willis, which acted as
the insurance broker for Intervenor Metropolitan Transit Authority (“METRO”); and
Lloyd’s Syndicate 609 (“Atrium”), which acted as the lead underwriter for Lloyd’s with

respect to the relevant policy.

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 5 of 9

Under Rule l9(a), a party is necessary if, in that party’s absence, the court cannot
accord complete relief among existing parties. Fed. R. Civ. P. 19(a)(l)(A). The Court
finds that both Willis and Atrium are necessary parties within the meaning of the rule.
Both parties are potentially liable: Willis for its alleged negligence, and Atrium under its
insurance contract. In addition, the enforceability of any judgment as to Atrium against
other syndicates appears to be unlikely at best, as all parties agree that Atrium’s liability
under its policy contract will be several but not joint with the other Lloyd’s syndicates as
to any contractual claims. (Defs.’ Supp. Br., Doc. No. 44, at 3-4; Supp. Response, Doc.
No. 52, at 3.) The search for complete relief could therefore involve a multiplicity of
lawsuits, and judicial economy is one appropriate factor for the Court to consider when
determining whether an absent party is necessary to the lawsuit. See 7 C. Wright, A.
Miller, & M. Kane, Federal Practi`ce and Procedure § 1604 (3d ed. 2001) (citing the
Advisory Committee Note to the 1966 amendment to Rule 19). For these reasons,
Atrium and Willis are necessary parties for purposes of Rule l9(a).l

Joinder of Willis and Atrium is not feasible, however, because either would
destroy the Court’s diversity jurisdiction The Court must therefore turn to Rule l9(b),
which “requires that if, as a matter of equity[,] the court finds that the lawsuit cannot
proceed without the absent party, then that party be considered indispensable and the case
dismissed.” Shelton v. Exxon Corp. 843 F.2d 212, 216 (5th Cir. 1988). “Unless the court

finds that a party is indispensable . . . it has no discretion, except in the most exceptional

 

l The reliance of UP and METRO upon James v. Valvoline, Inc., 159 F.Supp.Zd 544 (S.D. Tex. 2001), for
the proposition that “complete relief” means relief as between persons already parties, not as between a
party and an absent person whose joinder is sought, is misplaced James involved a suit for money
damages where the absent party and the defendant were jointly and severally liable. Id. at 550-51
(“Indisputably, in this suit for money damages, whatever amount, if any, that is awarded will be complete
as between Plaintiff and [the absent party]. . . . This is so because under Ohio law, [the absent party] is
potentially jointly and severally liable to the Plaintiff.” (citations omitted)). As just explained, the instant
case does not appear likely to involve joint and several liability as to all claims and all defendants

_5_

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 6 of 9

cases, to dismiss the case even if a necessary party cannot be joined.” Id. Distinguishing
a necessary party from an indistinguishable party requires analyzing the four factors
presented in Rule l9(b), specifically: 1) to what extent the party’s absence would
prejudice him or those already parties; 2) whether protective measures may be taken to
lessen that prejudice; 3) whether a judgment rendered in the party’s absence will be
adequate; and 4) whether plaintiff will have an adequate remedy if the case is dismissed
Id.; Fed. R. Civ. P. 19(b).

At the outset, the Court notes that Fifth Circuit precedent suggests that, as a
matter of law, neither Willis nor Atrium is an indispensable party to the case. See
Nottingham v. Gen. Am. Comm. Corp., 811 F.2d 873, 880-81 (1987) (“[I]t is well
established that Rule 19 does not require the joinder of joint tortfeasors . . . Nor does it
require joinder of principal and agent. . . . Finally, Rule 19 does not require joinder of
persons against whom [defendants] have a claim for contribution . . . Thus, whether [the
absent party] be a joint tortfeasor, agent, or contributor to the award, [the absent party]
was not an indispensable party to this case.” (citations omitted)). Nonetheless, because
“[t]he watchwords of Rule 19 are ‘pragmatism’ and ‘practicality,”’ Schutten v. Shell Oil
Co., 421 F.2d 869, 874 (5th Cir. 1970), the Court will offer a full analysis under Rule
l9(b) of the effect of proceeding without Willis and Atrium.

With regard to Willis, the Rule l9(b) analysis points strongly in favor of
proceeding with the litigation As for the first two factors, any prejudice to Defendants
resulting from Willis not being a party to this lawsuit is greatly reduced, if not eliminated,
by Willis having been designated a responsible third party, Defendants will no longer

have to argue their case in Willis’ absence, as Willis’ alleged negligence will be

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 7 of 9

submitted to the jury for a finding of proportionate responsibility2 Moreover, there is no
evidence before the Court upon which to base a determination that Willis will be
prejudiced by this lawsuit. Factor three, which inquires into the adequacy of the
requested judgment, is of little relevance given the unusual procedural posture of this
case, where it is Third-Party Plaintiff Union Pacific Railroad Company (“UP”) and
Intervenor METRO, not Defendants, who prefer to remain in federal court. The Court
gives little weight to this factor where the plaintiffs are satisfied with the judgment
available to them in federal court. Finally, the fourth factor, which inquires into the
availability of an alternative forum if the action is dismissed, clearly points to dismissal,
as the state courts are available and do not suffer from the same jurisdictional limitations
as the Court. This factor, however, does not outweigh the balance of the other three,
particularly given that UP and METRO prefer to prosecute their claims in federal court.
Willis is therefore not indispensable to the litigation within the meaning of Rule l9(b)
and Shelton.

With regard to Atrium, the Court finds that the Rule l9(b) analysis again points in
favor of proceeding with the litigation lt is true, as Defendants have argued, that Atrium
may have somewhat less of an incentive to participate in discovery if it is not party to the
lawsuit. It is also true that representatives of Atrium who reside out of the country may
not be available to testify at trial. As UP and METRO amply demonstrate in their
Supplemental Response (Doc. No. 52, at 7), however, evidentiary considerations such as
these are outside the proper purview of Rule 19 joinder provisions. See, e.g., Costello

Publishing Co. v. Rotelle, 670 F.2d 1035, 1044 (D.C. Cir. 1981) (“[Rule 19] does not list

 

2 The Court notes that Willis was designated a “responsible third party” at the request of Defendants,
suggesting that Defendants share the Court’s view that this designation reduces or eliminates the potential
prejudice of proceeding with the case.

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 8 of 9

the need to obtain evidence from an entity or individual as a factor bearing upon whether
or not a party is necessary or indispensable to a just adjudication”); see also Hejley v.
Textron, Inc., 713 F.2d 1487, 1498 (10th Cir. 1983) (rejecting the notion “that without the
broader discovery available from [the absent] party, complete relief can not be granted”
and stating “[w]e have found no cases which approve of the use of rule 19 simply to
allow greater discovery, and we can discern no policy which such an expansion of the
rule would promote”); accord Johnson v. Smithsonian Inst., 189 F.3d 180, 188-89 (an
Cir. 1999) (citing Costello and Hejley). Moreover, pragmatism and practicality in this
case suggest that Atrium is unlikely to abandon its fellow Lloyd’s syndicates, all of
whom relied on Atrium when entering their insurance agreements, as those syndicates
attempt to escape liability. The Court therefore finds that the potential prejudice to
Defendants from Atrium’s absence is low, and no measures need be taken at this time to
reduce that prejudice. In addition, there is no evidence before the Court upon which to
base a determination that Atrium will be prejudiced by this lawsuit. As for factors three
and four, the analysis offered above with regard to Willis applies identically with regard
to Atrium, and again those factors do not change the overall outcome of the Rule 19
analysis. Atrium is therefore not indispensable to the litigation within the meaning of

Rule i9(b) and shelton

III. CONCLUSION
For the reasons stated herein, Lloyd’s Motion for Leave to Designate Responsible
Third Party (Doc. No. 50) is GRANTED. Lloyd’s is ORDERED to notify Willis of this

lawsuit by serving a copy of all pleadings and orders filed in this case within twenty days

Case 3:07-cv-00032 Document 55 Filed in TXSD on 04/24/08 Page 9 of 9

of the date of this Order. The Motion to Dismiss (Doc. No. 31) of Liberty Mutual and
Lloyd’s is DENIED.
IT IS SO ORDERED.

sIGNEi) thist ay of Aprii, 2008.

Xl)ut/,QM

KE'iTi>H=». EiLisoN
UNITED sTATEs DISTRICT JUDGE

 

TO ENSURE PROPER NOTICE, EACH PARTY WHO RECElVES THIS ORDER SHALL
FORWARD A COPY OF lT TO EVERY OTHER PARTY AND AFFECTED NON-PARTY
EVEN THOUGH THEY MAY HAVE BEEN SENT ONE BY THE COURT

